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                                                                                        Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  1	  of	  8	  
	  
                    Exhibit	  H:	  The	  Evidence	  of	  Crossover	  Voting	  in	  Ripley’s	  Second	  Affidavit	  
                                                                      	  
                                                               Summary	  Points	  
	  
1.	  	  Mr.	  Ripley’s	  analysis	  is	  scientifically	  unsound	  and	  would	  not	  stand	  up	  to	  the	  rigors	  of	  peer-­‐
review.	  

2.	  	  The	  counties	  and	  districts	  analyzed	  were	  not	  randomly	  selected	  from	  the	  population	  of	  races,	  
and	  are	  not	  representative	  of	  races	  in	  Idaho	  generally.	  

3.	  	  Mr.	  Ripley	  does	  not	  consider	  other	  potential	  alternative	  explanations	  for	  patterns	  in	  
participation	  and	  voting	  behavior	  in	  these	  primaries.	  

4.	  	  The	  conclusions	  about	  the	  magnitude	  of	  crossover	  voting	  in	  Mr.	  Ripley’s	  analysis	  suffers	  from	  the	  
ecological	  fallacy,	  and	  thus	  cannot	  be	  trusted.	  

5.	  	  Mr.	  Ripley’s	  report	  contains	  no	  evidence	  whatsoever	  about	  the	  effect	  of	  the	  election	  of	  these	  
particular	  candidates	  on	  the	  ideological	  make-­‐up	  of	  the	  Idaho	  legislature.	  	  Analysis	  of	  the	  Idaho	  
legislature	  suggests	  that	  the	  effects	  of	  the	  overall	  composition	  of	  the	  legislature	  are	  trivial	  at	  best.	  

6.	  	  The	  candidates	  Mr.	  Ripley	  identify	  as	  “liberals”	  are	  all	  within	  the	  mainstream	  of	  the	  Republican	  
Party	  in	  the	  State	  of	  Idaho.	  	  All	  are	  more	  conservative	  than	  the	  most	  conservative	  Democrat	  serving	  
in	  the	  state	  legislature.	  
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                                                                                        Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  2	  of	  8	  
	  
Introduction	  

The	  Second	  Affidavit	  of	  David	  Ripley,	  dated	  January	  12,	  2010,	  contains	  a	  long	  report	  containing	  data	  
about	  crossover	  voting	  and	  its	  impact	  in	  a	  variety	  of	  Republican	  primaries	  from	  2002	  to	  2008.	  	  Mr.	  
Ripley	  reviews	  a	  significant	  amount	  of	  data	  regarding	  these	  four	  primary	  elections,	  and	  claims	  there	  
is	  a	  “prevalent	  pattern	  of	  Democrat	  crossover	  voting	  designed	  to	  produce	  more	  liberal	  members	  of	  
the	  Idaho	  legislature”	  (Ripley,	  Exhibit	  A).	  	  He	  looks	  at	  patterns	  of	  bullet-­‐balloting	  and/or	  reverse	  
roll-­‐off	  as	  a	  method—compared	  with	  what	  he	  asserts	  are	  “natural	  voting	  patterns	  of	  average	  
voters”	  to	  draw	  inferences	  about	  the	  presence	  and	  impact	  of	  crossover	  voting.	  	  He	  ultimately	  claims	  
that	  at	  least	  four	  elections	  were	  changed	  by	  the	  participation	  of	  Democratic	  crossover	  voting,	  and	  
that	  this	  has	  had	  a	  “significant	  impact	  on	  the	  composition	  and	  ideological	  make-­‐up	  of	  the	  Idaho	  
Legislature.”	  

My	  goal	  here	  is	  to	  speak	  to	  the	  scientific	  merit	  of	  Ripley’s	  affidavit.	  	  In	  particular,	  I	  will	  discuss	  
whether,	  and	  to	  what	  extent,	  the	  inferences	  he	  is	  drawing	  from	  Idaho	  electoral	  data	  are	  reliable	  and	  
would	  stand	  up	  to	  rigorous	  scientific	  scrutiny.	  	  To	  do	  so,	  I	  begin	  by	  discussing	  the	  methodological	  
deficiencies	  of	  the	  analysis.	  

Methodological	  Deficiencies	  

Mr.	  Ripley’s	  report	  suffers	  from	  a	  number	  of	  methodological	  implications.	  	  One	  might	  view	  the	  
purpose	  of	  Mr.	  Ripley’s	  report	  to	  determine	  whether	  or	  not	  there	  has	  ever	  been	  a	  crossover	  voter	  in	  
the	  Republican	  primary.	  	  Of	  course,	  the	  answer	  to	  that	  question	  is	  yes.	  	  And,	  as	  discussed	  earlier,	  any	  
electoral	  system—including	  a	  closed	  primary—would	  allow	  for	  crossover	  voting	  by	  “real”	  
Democrats	  who	  chose	  to	  register	  as	  Republicans.	  	  A	  more	  reasonable	  way	  to	  view	  Mr.	  Ripley’s	  
report	  is	  to	  empirically	  ascertain	  the	  amount	  of	  crossover	  voting	  in	  Idaho,	  and	  the	  extent	  to	  which	  it	  
affects	  electoral	  outcomes.	  

First,	  in	  order	  to	  make	  claims	  that	  are	  generalizable	  to	  Republican	  legislative	  primaries	  in	  the	  State	  
of	  Idaho,	  it	  is	  important	  to	  select	  a	  representative	  sample	  of	  primaries.	  	  Typically	  this	  would	  be	  
done	  by	  randomly	  sampling	  from	  a	  list	  of	  races.	  	  Mr.	  Ripley,	  on	  the	  other	  hand,	  chooses	  his	  cases	  
selectively.	  	  Indeed,	  the	  analyses	  come	  from	  Latah	  County	  (District	  6),	  the	  part	  of	  Canyon	  County	  in	  
District	  10,	  and	  the	  part	  of	  Ada	  County	  in	  District	  10.	  	  Figure	  H-­‐1	  contains	  two	  plots	  that	  summarize	  
the	  percent	  liberal	  two-­‐party	  vote	  in	  the	  2008	  presidential	  general	  election	  and	  the	  population	  of	  
each	  for	  each	  county	  in	  the	  State	  of	  Idaho.	  	  (The	  population	  data	  are	  on	  the	  logarithm	  base-­‐10	  scale	  
because	  the	  great	  variability	  in	  county	  population	  in	  the	  state).	  	  With	  regard	  to	  presidential	  vote	  
share,	  these	  counties	  are	  all	  to	  the	  left	  of	  the	  distribution.	  	  John	  McCain	  lost	  Latah	  County,	  getting	  
only	  46.5%	  of	  the	  two-­‐party	  vote.	  	  He	  won	  Ada	  county,	  getting	  53.2%	  of	  the	  two-­‐party	  vote.	  	  In	  
Canyon	  County	  he	  received	  68.0%	  of	  the	  two-­‐party	  vote.	  	  As	  the	  left	  panel	  of	  Figure	  H-­‐1	  makes	  
clear,	  these	  three	  counties	  are	  not	  representative	  of	  the	  counties	  in	  the	  state	  of	  Idaho.	  	  The	  
legislative	  districts	  within	  these	  counties	  may	  be	  even	  more	  unrepresentative.	  	  Similarly,	  with	  
regard	  to	  population,	  these	  counties	  are	  outliers.	  	  All	  three	  are	  to	  the	  right	  of	  the	  distribution,	  with	  
all	  counties	  having	  a	  population	  greater	  than	  31,600	  (4.5	  of	  the	  logarithmic	  base-­‐10	  scale).	  
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                                                                                        Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  3	  of	  8	  
	  




                                                                                                                                                      	  
Figure	  H-­1.	  Histogram	  of	  the	  Republican	  percentage	  of	  the	  two-­‐party	  vote	  by	  county	  in	  the	  2008	  
general	   election,	   and	   histogram	   of	   the	   county	   population	   in	   2008	   (logarithm	   base	   10).	   	   Data	   source:	  
Idaho	   Secretary	   of	   State,	   http://www.sos.idaho.gov/elect/results.htm;	   U.S.	   Department	   of	   the	  
Census,	  http://www.census.gov/popest/counties/tables/CO-­‐EST2008-­‐01-­‐16.xls.	  

	  

Second,	  Mr.	  Ripley	  looks	  for	  patterns	  in	  bullet-­‐balloting	  and/or	  reverse	  roll-­‐off	  by	  looking	  only	  at	  
the	  vote	  totals.	  	  Without	  considering	  other	  alternative	  explanations	  for	  these	  patterns,	  it	  is	  impossible	  
to	  know	  whether	  the	  patterns	  are	  caused	  by	  crossover	  voting	  or	  something	  else.	  	  A	  political	  science	  
study	  of	  these	  data	  would	  require	  the	  systematic	  elimination	  of	  alternative	  explanations.	  	  As	  
discussed	  below	  when	  I	  go	  case-­‐by-­‐case	  through	  the	  analysis,	  in	  many	  of	  these	  races	  the	  patterns	  of	  
participation	  may	  be	  explained	  simply	  by	  the	  lack	  of	  competition	  in	  “higher”	  races.	  	  The	  lack	  of	  
interest	  in	  other	  races,	  and	  variation	  in	  the	  amount	  of	  campaign	  spending	  and	  attention	  by	  the	  
public	  might	  also	  explain	  variation	  in	  participation	  rates.	  	  Additionally,	  changes	  in	  the	  population	  or	  
demographics	  of	  a	  district	  over	  time	  might	  account	  for	  patterns.	  	  The	  incumbency	  advantage	  also	  
might	  matter.	  	  Finding	  a	  pattern	  and	  drawing	  a	  conclusion	  without	  considering	  alternative	  
explanations	  does	  not	  meet	  scientific	  merit.	  	  Simply	  put,	  anomalous	  voting	  patterns	  are	  evidence	  of	  
anomalies,	  and	  do	  not	  in	  and	  of	  itself	  provide	  evidence	  about	  why	  there	  are	  anomalies.	  

Third,	  Mr.	  Ripley’s	  analysis	  suffers	  from	  the	  ecological	  fallacy.	  	  One	  commits	  an	  ecological	  fallacy	  by	  
drawing	  inferences	  about	  specific	  individuals	  by	  only	  looking	  at	  aggregate	  data.	  	  Mr.	  Ripley	  is	  
interested	  in	  drawing	  conclusions	  about	  individual	  voting	  behavior	  from	  aggregate	  vote	  totals.	  	  The	  
ecological	  fallacy	  is	  a	  generic	  problem	  in	  the	  social	  sciences,	  for	  which	  is	  there	  no	  solution	  (see,	  for	  
example,	  Goodman	  1953,	  King	  1997,	  Wakefield	  2004).	  	  Indeed,	  besides	  relying	  on	  the	  method	  of	  
bounds	  (Duncan	  and	  Davis,	  1953,	  discussed	  below)—which	  exploits	  simple	  arithmetic	  to	  place	  
bounds	  on	  the	  amount	  of	  individual	  behavior	  of	  a	  particular	  type	  given	  aggregate	  statistics,	  there	  is	  
no	  way	  to	  draw	  reliable	  inferences	  from	  aggregate	  data	  about	  individual	  behavior	  without	  making	  
untestable	  assumptions.	  

As	  an	  illustration,	  suppose	  that	  in	  a	  particular	  Republican	  primary	  there	  were	  100	  more	  individuals	  
who	  cast	  votes	  in	  that	  race	  compared	  with	  in	  a	  race	  “higher”	  on	  the	  ballot.	  	  Further,	  suppose	  that	  
Candidate	  A—who	  is	  suspected	  to	  be	  a	  “real”	  Democrat—beat	  Candidate	  B	  by	  80	  votes.	  	  Does	  this	  
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                                                                                           Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  4	  of	  8	  
	  
mean	  that	  Candidate	  B	  would	  have	  won	  on	  the	  election	  if	  not	  for	  these	  100	  voters?	  	  No.	  	  Looking	  
only	  at	  the	  vote	  totals	  does	  not	  tell	  us	  much	  about	  the	  individual	  behavior.	  	  Of	  course,	  had	  all	  100	  of	  
these	  voters	  voted	  for	  Candidate	  A,	  Candidate	  B	  would	  win	  in	  Candidate	  A’s	  absence.	  	  But	  the	  
primary	  participation	  totals	  do	  not	  contain	  that	  information.	  	  Thus,	  making	  claims	  about	  how	  
elections	  would	  have	  changed	  without	  determining	  individual	  behavior	  is	  fallacious.	  	  Simply	  put,	  
the	  burden	  of	  proof	  to	  show	  that	  electoral	  results	  would	  have	  changed	  in	  the	  absence	  of	  crossover	  
voting	  is	  quite	  high.	  

Finally,	  even	  if	  one	  believed	  that	  Mr.	  Ripley’s	  report	  provides	  evidence	  of	  crossover	  voting,	  it	  
provides	  no	  evidence	  about	  whether	  the	  candidates	  he	  isolates	  have	  had	  an	  effect	  on	  the	  ideological	  
make-­up	  of	  the	  Idaho	  legislature.	  	  Indeed,	  there	  is	  no	  evidence	  whatsoever	  about	  the	  behavior	  of	  
winning	  candidates	  once	  in	  office.	  	  Our	  study	  of	  the	  Idaho	  Legislature	  in	  Exhibit	  G	  provides	  some	  
information	  here,	  which	  I	  will	  refer	  to	  when	  discussing	  Mr.	  Ripley’s	  analysis	  case-­‐by-­‐case.	  

Facts	  About	  the	  Idaho	  Electoral	  Context	  

When	  discussing	  particular	  primaries	  and	  the	  possibilities	  of	  bullet-­‐balloting	  and	  reverse	  roll-­‐off,	  it	  
is	  important	  to	  keep	  in	  mind	  the	  context	  of	  each	  election.	  	  Here	  are	  some	  facts	  about	  the	  2002,	  
2004,	  2006,	  and	  2008	  Idaho	  Republican	  primaries	  (unless	  otherwise	  noted,	  data	  is	  obtained	  from	  
the	  Idaho	  Secretary	  of	  State	  Election	  Division):	  

       •    In	  2002,	  Larry	  Craig	  was	  unopposed	  in	  the	  Republican	  primary	  for	  U.S.	  Senate.	  	  “Butch”	  
            Otter	  and	  Mike	  Simpson	  were	  unopposed	  in	  the	  Republican	  primary	  for	  the	  U.S.	  House	  in	  
            Districts	  1	  and	  2.	  	  In	  the	  statewide	  gubernatorial	  race,	  Dirk	  Kempthorne	  faced	  three	  other	  
            candidates,	  ultimately	  winning	  the	  primary	  with	  just	  shy	  of	  66%	  of	  the	  vote.	  	  There	  were	  
            other	  contested	  statewide	  Republican	  primaries	  in	  2002.	  
       •    The	  Republican	  presidential	  primary	  was	  uncontested	  in	  2004.	  	  Mike	  Crapo	  ran	  unopposed	  
            in	  the	  Republican	  primary	  for	  U.S.	  Senate.	  	  “Butch”	  Otter	  was	  opposed	  in	  the	  1st	  District	  
            House	  Race;	  Mike	  Simpson	  was	  unopposed	  in	  the	  2nd	  District	  House	  Race.	  
       •    In	  2006,	  the	  top	  federal	  race	  was	  for	  the	  U.S.	  House.	  	  In	  District	  1,	  “Butch”	  Otter’s	  seat	  was	  
            open;	  six	  Republicans	  contested	  the	  race,	  which	  was	  ultimately	  won	  by	  Bill	  Sali.	  	  Sali	  went	  
            on	  to	  win	  the	  general	  election	  with	  just	  shy	  of	  50%	  of	  the	  votes.	  	  In	  District	  2,	  Mike	  Simpson	  
            was	  again	  unopposed.	  	  The	  top	  state	  election	  was	  for	  Governor;	  “Butch”	  Otter	  ran	  again	  
            three	  other	  candidates	  in	  that	  primary.	  	  There	  were	  other	  contested	  statewide	  races.	  
       •    In	  2008,	  the	  Republican	  presidential	  primary	  was	  the	  top	  federal	  race.	  	  That	  race	  was	  
            technically	  contested,	  with	  both	  John	  McCain	  and	  Ron	  Paul	  appearing	  on	  the	  Republican	  
            ballot.	  	  That	  election—which	  took	  place	  on	  May	  27,	  2008—happened	  two	  and	  a	  half	  months	  
            after	  John	  McCain	  secured	  the	  Republican	  nomination	  (McCain	  clinched	  on	  March	  4,	  2008;	  
            http://www.cnn.com/2008/POLITICS/03/04/march.4.contests/index.html).	  	  On	  the	  
            Democratic	  side,	  while	  delegates	  to	  the	  State	  Convention	  that	  would	  formally	  choose	  
            delegates	  to	  the	  national	  nominating	  convention	  for	  president	  were	  chosen	  on	  February	  5,	  
            20008,	  the	  Democratic	  presidential	  primary	  was	  still	  contested;	  Obama	  clinched	  a	  week	  
            later	  (http://www.cnn.com/2008/POLITICS/06/03/election.democrats/).	  	  Eight	  
            Republicans	  contested	  the	  primary	  for	  U.S.	  Senate,	  which	  was	  won	  by	  Jim	  Risch	  with	  just	  
            over	  65%	  of	  the	  vote.	  	  Both	  Republican	  primaries	  for	  the	  U.S.	  House	  were	  also	  contested.	  

Latah	  County	  Analysis	  

Mr.	  Ripley’s	  analysis	  begins	  with	  two	  primaries	  in	  Latah	  County—the	  2004	  State	  Senate	  primary	  
and	  the	  2006	  Congressional	  primary.	  	  Latah	  County	  is	  the	  home	  of	  the	  University	  of	  Idaho,	  and	  is	  
one	  of	  three	  counties	  President	  Obama	  carried	  in	  the	  2008	  presidential	  election.	  	  Other	  than	  
             Case 1:08-cv-00165-BLW Document 60-12 Filed 09/29/10 Page 5 of 8
                                                                                            Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  5	  of	  8	  
	  
election	  returns	  we	  have	  no	  specific	  data	  as	  to	  the	  distribution	  of	  ideology	  and	  party	  identification	  
in	  Latah	  County,	  however	  the	  results	  suggest	  that	  there	  are	  more	  voters	  on	  the	  left	  in	  Latah	  County	  
than	  in	  other	  counties	  in	  Idaho.	  	  Moreover,	  it	  is	  quite	  likely	  that	  many	  voters	  (and,	  thus,	  candidates)	  
identify	  as	  Republicans	  even	  though	  they	  may	  not	  agree	  with	  the	  majority	  of	  their	  party	  on	  issues	  
like	  public	  funding	  of	  education	  and	  abortion	  rights.	  

Mr.	  Ripley	  argues	  that	  in	  2004	  the	  drop-­‐off	  from	  the	  Bush	  and	  Crapo	  races	  suggest	  a	  bullet-­‐ballot	  
strategy	  to	  elect	  Gary	  Schroeder	  rather	  than	  Gregg	  Vance.	  	  In	  2004,	  however,	  both	  President	  Bush	  
and	  Senator	  Crapo	  were	  unopposed;	  this	  might	  have	  produced	  less	  participation	  in	  these	  races,	  
since	  Republican	  voters	  knew	  these	  “top”	  races	  were	  inconsequential.	  	  It	  is	  also	  the	  case	  that	  in	  
2004	  the	  Democratic	  presidential	  nomination	  was	  still	  in	  play,	  and	  as	  such,	  “real”	  Democrats	  would	  
want	  to	  participate	  in	  that	  primary	  rather	  than	  selecting	  the	  Republican	  ballot.	  

	  

                	                         	                           State	  Senate	  Primary	                               	  
                                                                                     	  
                	                         	                         Schroeder	            Vance	                           Total	  
                	                                 Bush	            [1137,2399]	          [0,1262]	                         2399	  
                Presidential	                       	  
                Primary	                         PDCOV	             [286,1548]	                [0,1262]	                   1548	  
                                                     	  
                                                   Total	                 2685	                    1262	                    3947	  
                                                     	  
	  

Table	  H-­1.	  	  Illustration	  of	  the	  ecological	  inference	  problem	  using	  data	  from	  the	  2004	  Latah	  County	  
State	  Senate	  primary.	  	  The	  numbers	  in	  brackets	  contain	  the	  range	  of	  possible	  values	  obtained	  using	  
the	  method	  of	  bounds.	  	  This	  illustration	  is	  based	  on	  the	  wholly	  unreasonable	  assumption	  that	  all	  
voters	  who	  cast	  votes	  in	  the	  Republican	  presidential	  primary	  for	  “None	  of	  the	  Names	  Shown”	  
(1068)	  or	  who	  did	  not	  vote	  in	  that	  race	  but	  did	  vote	  in	  the	  State	  Senate	  primary	  (480)	  are	  Possible	  
Democratic	  Crossover	  Voters	  [PDCOV].	  

	  

Table	  H-­‐1	  provides	  an	  illustration	  of	  the	  limitations	  of	  using	  aggregate	  election	  data	  to	  draw	  
inferences	  about	  individual	  behavior.	  	  In	  this	  table,	  the	  total	  number	  of	  Bush	  and	  what	  I	  label	  
“Possible	  Democratic	  Crossover	  Voters”	  (PDCOVs)	  is	  known;	  these	  voters	  are	  one	  of	  the	  1068	  who	  
cast	  a	  ballot	  in	  the	  race	  for	  “None	  of	  the	  Names	  Shown”	  or	  one	  of	  the	  480	  who	  did	  not	  vote	  in	  that	  
race	  but	  did	  vote	  in	  the	  State	  Senate	  primary.	  	  We	  further	  know	  that	  Schroeder	  received	  2685	  votes	  
in	  the	  Republican	  primary	  with	  Vance	  receiving	  1262.	  	  The	  problem	  of	  ecological	  inference	  is	  
learning	  about	  the	  interior	  cells	  of	  this	  table	  from	  the	  known	  totals.	  	  The	  interior	  cells	  tell	  us	  about	  
individual	  voters,	  for	  example,	  the	  number	  of	  Bush	  Voters	  who	  voted	  for	  Vance.	  	  The	  only	  definitive	  
conclusion	  one	  can	  draw	  from	  a	  table	  like	  this	  comes	  from	  the	  method	  of	  bounds	  (Duncan	  and	  
Davis	  1953).	  	  This	  method	  uses	  simple	  accounting	  identities	  to	  narrow	  the	  possible	  interior	  cell	  
counts.	  	  For	  example,	  if	  2399	  people	  voted	  for	  Bush,	  we	  know	  that	  no	  more	  than	  2399	  Bush	  voters	  
could	  have	  voted	  for	  Schroeder	  in	  the	  primary.	  	  The	  bracketed	  interior	  cells	  of	  the	  table	  show	  the	  
lower	  and	  upper	  bounds	  for	  each	  interior	  cell.	  

What	  does	  this	  table	  tell	  us?	  	  First,	  a	  significant	  number	  of	  Bush	  voters—between	  47.3%	  and	  
100%—had	  to	  have	  voted	  for	  Senator	  Schroeder.	  	  At	  least	  some	  PDCOVs	  had	  to	  have	  voted	  for	  
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                                                                                           Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  6	  of	  8	  
	  
Schroeder	  as	  well—between	  18.5%	  and	  100%.	  	  Without	  any	  additional	  information,	  there	  is	  no	  
reason	  to	  assign	  weight	  to	  one	  of	  these	  numbers	  over	  another.	  	  The	  data	  are	  just	  as	  consistent	  with	  
18.5%	  of	  the	  PDCOVs	  voting	  for	  Schroeder	  than	  100%.	  	  Was	  this	  enough	  to	  affect	  the	  outcome?	  	  No.	  	  
Moreover,	  there	  are	  many	  reasons	  why	  a	  PDCOV	  is	  not	  an	  actual	  crossover	  voter.	  	  This	  would	  
include	  any	  Republicans	  who	  chose	  not	  to	  vote	  because	  the	  race	  was	  uncompetitive,	  or	  voted	  for	  
“None	  of	  the	  Names	  Shown”	  as	  a	  protest	  against	  President	  Bush.	  	  Even	  if	  we	  accept	  Ripley’s	  premise	  
that	  some	  of	  these	  people	  were	  “real”	  Democrats,	  the	  number	  of	  them	  necessary	  to	  have	  affected	  
the	  outcome	  of	  this	  election	  would	  be	  implausibly	  large.	  

Our	  analysis	  of	  the	  Idaho	  legislature	  suggests	  that	  Schroeder	  is	  indeed	  a	  liberal	  Republican.	  	  He	  is	  
the	  most	  liberal	  member	  of	  the	  Republican	  caucus.	  	  However,	  in	  the	  57th,	  58th,	  and	  59th	  Senate	  he	  is	  
consistently	  more	  conservative	  than	  the	  most	  conservative	  Democrat.	  	  (See	  Exhibit	  G,	  Figures	  G-­‐4,	  G-­‐
5,	  G-­‐6,	  pp.	  8-­‐10).	  	  This	  reflects	  the	  relative	  liberalness	  of	  this	  district,	  not	  a	  Trojan	  Horse	  strategy.	  	  
Indeed,	  such	  a	  strategy	  would	  not	  be	  necessary.	  	  Schroeder	  could	  easily	  win	  a	  general	  election	  as	  a	  
Democrat.	  	  He,	  nonetheless,	  identifies	  as	  a	  Republican,	  and	  has	  done	  so	  consistently	  throughout	  his	  
political	  career.	  	  Additionally,	  Schroeder	  is	  an	  incumbent.	  	  The	  political	  science	  literature	  has	  shown	  
that	  legislative	  incumbents	  enjoy	  significant	  electoral	  advantages	  (see,	  for	  example,	  Gelman	  and	  
King	  1990).	  	  These	  incumbency	  advantages	  exist	  at	  the	  state	  level	  (Jewell	  and	  Breaux	  1988),	  and	  
have	  increased	  over	  time	  in	  state	  legislative	  races	  (Ansolabehere	  and	  Snyder	  2002).	  	  The	  power	  of	  
incumbency	  is	  another	  factor	  that	  could	  explain	  Schroeder’s	  success.	  	  Since	  the	  Democrats	  have	  not	  
contested	  Senator	  Schroeder	  for	  a	  number	  of	  years,	  the	  Republicans	  could	  attempt	  a	  Trojan	  Horse	  
candidacy	  themselves	  in	  Latah.	  	  It	  would	  surely	  be	  unsuccessful.	  

There	  is	  similarly	  thin	  evidence	  of	  crossover	  voting	  in	  the	  2006	  congressional	  primary.	  	  Indeed,	  
with	  the	  large	  number	  of	  candidates,	  there	  is	  little	  than	  can	  be	  made	  from	  the	  participation	  rates	  in	  
this	  hotly	  contested	  election.	  	  Sorenson	  was	  not	  a	  “liberal”	  in	  the	  state	  Senate	  (see	  Exhibit	  G,	  Figure	  
G-­‐4,	  p.	  8).	  	  Our	  analysis	  of	  the	  Idaho	  legislature	  suggests	  she	  was	  right	  in	  the	  middle	  of	  the	  
Republican	  caucus.	  	  She	  was	  likely	  elected	  because	  she	  was	  the	  candidate	  that	  best	  reflected	  her	  
district,	  which	  is	  somewhat	  to	  the	  left.	  	  There	  is	  simply	  no	  affirmative	  evidence	  that	  Democratic	  
crossover	  voting	  caused	  her	  to	  be	  elected.	  

Canyon	  County	  Analysis	  

In	  2008,	  Curtis	  Bowers—the	  sitting	  House	  member	  in	  District	  10A—lost	  the	  primary	  to	  Pat	  
Takasugi	  by	  507	  votes.	  	  There	  was	  an	  uptick	  in	  participation	  in	  the	  2008	  primary	  compared	  with	  
the	  previous	  three.	  	  Mr.	  Ripley	  attributes	  this	  to	  Democratic	  crossover	  voting.	  	  There	  are	  at	  least	  
two	  other	  plausible	  explanations.	  	  First,	  Canyon	  County	  grew	  substantially	  during	  this	  time	  period,	  
which	  would	  suggest	  an	  increase	  in	  participation.	  	  Second,	  and	  more	  importantly,	  2008	  was	  a	  
presidential	  election	  when	  the	  Democratic	  nomination	  was	  still	  at	  stake,	  and	  a	  race	  for	  a	  U.S.	  Senate	  
seat	  with	  many	  Republican	  candidates.	  	  As	  such,	  the	  uptick	  in	  participation	  is	  not	  surprising,	  and	  
certainly	  cannot	  be	  attributed	  to	  crossover	  voting	  without	  considering	  other	  explanations.	  	  The	  
Republican	  presidential	  nomination	  was	  settled	  at	  the	  time	  of	  the	  election,	  which	  might	  cause	  a	  
number	  of	  Republican	  voters	  to	  not	  vote	  for	  any	  candidate—especially	  those	  who	  supported	  
candidates	  other	  than	  McCain	  early	  in	  the	  contest.	  

How	  conservative	  was	  Bowers?	  	  Our	  analysis	  of	  the	  59th	  Idaho	  House	  shows	  that	  Bowers	  was	  the	  
fifth	  most	  conservative	  House	  member	  in	  the	  session	  (see	  Exhibit	  G,	  Figure	  G-­‐3,	  p.	  7).	  	  While	  we	  do	  
not	  have	  data	  about	  the	  ideological	  distribution	  among	  Republican	  identifiers	  in	  District	  10,	  it	  is	  just	  
as	  plausible	  to	  believe	  that	  Bowers	  lost	  the	  election	  because	  he	  was	  simply	  too	  conservative	  for	  the	  
Republicans	  in	  the	  district.	  	  The	  “uptick”	  in	  participation	  in	  this	  race	  is	  not	  definitive	  evidence	  that	  
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                                                                                         Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  7	  of	  8	  
	  
the	  outcome	  of	  the	  race	  was	  affected.	  	  Moreover,	  making	  claims	  about	  the	  individual	  behavior	  as	  it	  
relates	  to	  the	  507-­‐vote	  margin	  is	  fallacious.	  

Ada	  County	  Analysis	  

The	  final	  set	  of	  analyses	  come	  from	  District	  14	  in	  Ada	  County.	  	  Ada	  County	  is	  by	  far	  the	  largest	  
county	  in	  Idaho	  based	  on	  population,	  and	  as	  such,	  contains	  eight	  legislative	  districts.	  	  We	  have	  no	  
specific	  data	  about	  the	  ideological	  distribution	  of	  voters	  or	  the	  partisan	  identification	  of	  voters	  in	  
Ada	  County.	  	  Because	  Ada	  County	  has	  urban	  and	  rural	  areas,	  we	  would	  expect	  there	  to	  be	  great	  
heterogeneity	  within	  the	  county.	  	  In	  the	  2008	  presidential	  election,	  John	  McCain	  received	  53.2%	  of	  
the	  two-­‐party	  vote;	  this	  is	  one	  of	  the	  lowest	  in	  the	  State	  of	  Idaho.	  

Mr.	  Ripley	  focuses	  first	  on	  two	  races	  in	  District	  14.	  	  In	  2004,	  the	  “top”	  Republican	  primary	  races	  
were	  uncontested,	  including	  the	  presidential	  race	  and	  the	  race	  for	  U.S.	  Senate.	  	  “Butch”	  Otter	  was	  
opposed	  in	  the	  primary	  for	  1st	  District	  House	  race	  that	  contains	  some	  of	  Ada	  County.	  	  In	  2004	  in	  the	  
Senate	  race	  between	  Hal	  Bunderson	  and	  Rod	  Beck	  and	  the	  House	  race	  between	  Henry	  Kulczyk	  and	  
Stan	  Bastian,	  Mr.	  Ripley	  claims	  that	  there	  were	  354	  and	  612	  Democratic	  crossover	  voters.	  	  Using	  
the	  vote	  totals	  to	  reach	  these	  numbers	  is	  not	  principled,	  as	  doing	  so	  would	  require	  one	  to	  fall	  prey	  
to	  the	  ecological	  fallacy.	  	  Bunderson	  also	  enjoyed	  the	  incumbency	  advantage	  in	  his	  race.	  	  Are	  
Bunderson	  and	  Bastian	  liberals?	  	  Absolutely	  not.	  	  Our	  analysis	  of	  the	  57th	  Idaho	  Senate	  suggests	  that	  
Bunderson	  falls	  right	  in	  the	  middle	  of	  the	  Republican	  caucus	  (see	  Exhibit	  G,	  Figure	  G-­‐4,	  p.	  8).	  	  
(Kulczyk	  was	  the	  most	  conservative	  member	  of	  the	  57th	  Idaho	  House).	  	  In	  the	  58th	  Idaho	  House,	  
Bastian	  is	  toward	  the	  left	  of	  the	  Republican	  caucus,	  but	  is	  more	  conservative	  than	  six	  fellow	  
Republicans	  and	  all	  of	  the	  Democrats	  (see	  Exhibit	  G,	  Figure	  G-­‐2,	  p.	  6).	  	  These	  data	  about	  the	  
performance	  of	  these	  candidates	  in	  government	  suggests	  that	  both	  are	  well	  within	  the	  Republican	  
mainstream	  in	  the	  State	  of	  Idaho.	  	  They	  are	  not	  Trojan	  Horse	  Democrats.	  	  Indeed,	  they	  were	  most	  
likely	  superior	  candidates	  to	  Kulczyk	  and	  Beck	  in	  their	  district.	  	  The	  evidence	  about	  the	  2006	  
primary	  between	  Bastian	  and	  Beck	  is	  even	  less	  persuasive.	  

Mr.	  Ripley	  provides	  additional	  analysis	  from	  District	  15	  in	  Ada	  County.	  	  Mr.	  Ripley	  again	  compares	  
turnout	  to	  a	  “top”	  race—in	  this	  case	  primary	  for	  U.S.	  Senate	  that	  was	  uncontested,	  and	  the	  race	  for	  
the	  two	  U.S.	  House	  races	  that	  were	  also	  uncontested.	  	  The	  comparison	  of	  the	  99%	  vs.	  82%	  roll-­‐off	  
rates	  is	  not	  evidence	  of	  crossover	  voting.	  	  It	  is	  evidence	  only	  of	  roll-­‐off.	  	  The	  race	  between	  sitting	  
Senator	  Andreason	  and	  Dennis	  Mansfield	  took	  place	  in	  2002	  and	  2006.	  	  Is	  Andreason	  a	  Trojan	  
Horse?	  	  It	  is	  the	  case—as	  shown	  in	  our	  analysis	  of	  the	  Idaho	  Senate—that	  Andreason	  is	  to	  the	  left	  of	  
the	  Republican	  caucus	  (see	  Exhibit	  G,	  Figures	  G-­‐4,	  G-­‐5,	  G-­‐6,	  pp.	  8-­‐10).	  	  However,	  he	  still	  falls	  well	  
within	  the	  Republican	  mainstream.	  	  He	  attracted	  a	  Democrat	  challenger	  in	  2002,	  2004,	  and	  2006	  
(he	  was	  unopposed	  in	  2008).	  	  This	  suggests	  that	  Andreason	  is	  not	  a	  Trojan	  Horse,	  but	  is	  simply	  a	  
candidate	  who	  best	  matches	  the	  ideology	  of	  the	  Republicans	  in	  the	  district.	  

At	  the	  end	  of	  his	  report,	  Mr.	  Ripley	  discusses	  the	  2004	  House	  primary	  in	  District	  28	  (Bingham	  
County)	  between	  Joseph	  Cannon	  and	  Steve	  Adams.	  	  Cannon	  defeated	  Adams	  by	  16.87%	  (964	  votes).	  	  
There	  were	  more	  votes	  cast	  in	  that	  race	  than	  in	  the	  “top”	  ticket	  races,	  but	  in	  2004	  the	  presidential	  
primary	  and	  the	  U.S.	  Senate	  primary	  were	  uncontested.	  	  The	  comparison	  between	  this	  district	  and	  
overall	  statewide	  returns	  is	  preposterous.	  	  They	  should	  only	  match	  if	  the	  precise	  demographics	  and	  
political	  contexts	  across	  the	  state	  matched	  those	  in	  this	  particular	  district!	  	  They	  do	  not.	  	  Cannon	  won	  
this	  primary	  handily,	  and	  went	  on	  to	  win	  the	  general	  election.	  	  Our	  analysis	  of	  the	  58th	  Idaho	  House	  
suggests	  that	  he,	  too,	  falls	  right	  in	  the	  middle	  of	  the	  Republican	  mainstream	  (see	  Exhibit	  G,	  Figure	  G-­‐
2,	  p.	  6).	  

	  
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                                                                                    Martin	  &	  Saunders	  Report,	  Exhibit	  H—Page	  8	  of	  8	  
	  
Conclusion	  

Taken	  as	  a	  whole,	  these	  analyses	  of	  voting	  patterns	  in	  Idaho	  provide	  little	  evidence	  of	  the	  existence	  
of	  crossover	  voting,	  and	  no	  evidence	  about	  whether	  crossover	  voting	  has	  affected	  the	  outcome	  of	  a	  
legislative	  race,	  or	  the	  composition	  of	  the	  Idaho	  legislature.	  	  All	  “liberal”	  Republican	  candidates	  
discussed	  are	  in	  the	  mainstream	  of	  Republicans	  in	  the	  State	  of	  Idaho.	  
